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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

GARNER
                                                                      CIVIL ACTION
VERSUS
                                                                      20-658-SDD-SDJ
STATE OF LOUISIANA, ETAL.
                                         RULING

        The Court has carefully considered the Complaint,^ the record, the law applicable

to this action, and the Report and Recommendations2 of United States Magistrate Judge

Scott D. Johnson, dated August 12, 2021, to which an Objection3 was filed and also

reviewed.


        The Court hereby approves the Report and Recommendations of the Magistrate

Judge and adopts it as the Court's opinion herein.

        ACCORDINGLY, the Court declines to exercise supplemental jurisdiction over

Plaintiff's potential state law claims, and Plaintiff's federal claims are hereby DISMISSED

WITH PREJUDICE as legally frivolous and for failure to state a claim pursuant to 28

U.S.C. §§ 1915(e)and 1915A.

        IT IS FURTHER ORDERED that this case be CLOSED.

        Judgment shall be entered accordingly.

        Signed in Baton Rouge, Louisiana the ^_ day of October, 2021.




                                     CHIEF JUDQTE^HELLY D. DICK
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA

1 Rec. Doc. 1.
2 Rec. Doc. 6.
3 Rec. Doc. 7.
